19-10904-mg         Doc 6      Filed 04/17/19       Entered 04/17/19 17:08:33        Main Document
                                                    Pg 1 of 8




                                                               HEARING DATE: May 20, 2019 at 10:00 a.m.
                                                               OBJECTIONS: May 13, 2019 at 4:00 p.m.
 WILLIAM K. HARRINGTON
 United States Trustee for Region 2
 201 Varick Street, Suite 1006
 New York, New York 10014
 Telephone: (212) 510–0500
 By: Benjamin J. Higgins
 Trial Attorney

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------- x
                                                           :
 In re                                                     :    Case No. 19-10904 (MG)
                                                           :
 EL SAN JUAN CITY ISLAND ON 5TH AVE :                           Chapter 11
 LLC,                                                      :
                                           Debtor.         :
                                                           :
 --------------------------------------------------------- x

                                           NOTICE OF MOTION

        PLEASE TAKE NOTICE that upon this Notice of Motion and the accompanying

memorandum of law, William K. Harrington, the United States Trustee for Region 2, will move

this Court before the Honorable Martin Glenn, United States Bankruptcy Judge, in the United

States Bankruptcy Court, One Bowling Green, New York, New York 10004, on May 20, 2019 at

10:00 a.m., or as soon thereafter as counsel can be heard, for an order dismissing this chapter 11

case or, alternatively, converting this case to a case under chapter 7 of the Bankruptcy Code, and

for such other and further relief as this Court may deem just and proper.

        PLEASE TAKE FURTHER NOTICE, that by no later than May 13, 2019 at 4:00

p.m., objections or other responses, if any, to the Motion must (a) be in writing, (b) conform to the

Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules of the Southern District

of New York, (c) be filed with the Bankruptcy Court in accordance with General Order M-242 (as
19-10904-mg      Doc 6    Filed 04/17/19    Entered 04/17/19 17:08:33        Main Document
                                            Pg 2 of 8


amended), (d) be submitted in hard-copy form directly to the Chambers of the Hon. Bankruptcy

Judge Martin Glenn, and (e) be served upon the United States Trustee, 201 Varick Street, Suite

1006, New York, New York 10004 (Attn: Benjamin J. Higgins). Such papers shall conform to

the Federal Rules of Civil Procedure and identify the party on whose behalf the papers are

submitted, the nature of the response, and the basis for such response.

Dated: April 17, 2019
       New York, New York
                                                     WILLIAM K. HARRINGTON
                                                     UNITED STATES TRUSTEE

                                             By:     /s/ Benjamin J. Higgins
                                                     Benjamin J. Higgins, Esq.
                                                     Trial Attorney
                                                     Office of the United States Trustee
                                                     201 Varick Street, Suite 1006
                                                     New York, New York 10014
                                                     Tel. No. (212) 510-0500
                                                     Fax. No. (212) 668-2361




                                                       2
19-10904-mg         Doc 6      Filed 04/17/19       Entered 04/17/19 17:08:33           Main Document
                                                    Pg 3 of 8


 UNITED STATES BANKRUPTCY COURT                                Hearing Date and Time: May 20, 2019 at 10:00 a.m.
 SOUTHERN DISTRICT OF NEW YORK                                 Objection Date and Time: May 13, 2019 at 4:00 p.m.
 --------------------------------------------------------- x
                                                           :   Case No. 19-10904 (MG)
 In re                                                     :
                                                           :
 EL SAN JUAN CITY ISLAND ON 5TH AVE :                          Chapter 11
 LLC.,                                                     :
                                           Debtor.         :
                                                           :
 --------------------------------------------------------- x

               MOTION OF THE UNITED STATES TRUSTEE FOR AN ORDER
               DISMISSING THIS CHAPTER 11 CASE OR, ALTERNATIVELY,
                CONVERTING THIS CASE TO A CASE UNDER CHAPTER 7

TO:     THE HONORABLE MARTIN GLENN,
        UNITED STATES BANKRUPTCY JUDGE:

        William K. Harrington, the United States Trustee for Region 2 (“United States Trustee”),

hereby moves for an order dismissing the chapter 11 case of El San Juan City Island on 5th Ave

LLC (the “Debtor”) or, alternatively, converting this case to a case under chapter 7 of the

Bankruptcy Code. In support of this motion, the United States Trustee represents and alleges as

follows:

                                      PRELIMINARY STATEMENT

        Cause exists under both 11 U.S.C. §§ 1112(b) and 1112(e) to dismiss or convert this

chapter 11 case. First, the Debtor has failed to file schedules, statements, and other documents in

compliance with 11 U.S.C. § 521(a). Second, the Debtor, a limited liability company, has failed

to retain counsel. Based on these facts, as more fully detailed below, the Court should dismiss

this case or, alternatively, convert this case to one under chapter 7 of the Bankruptcy Code.

Because it is not clear if there are unencumbered assets for a chapter 7 trustee to administer, the

United States Trustee recommends the dismissal of this case.
19-10904-mg      Doc 6      Filed 04/17/19   Entered 04/17/19 17:08:33        Main Document
                                             Pg 4 of 8


                                              FACTS

       1.      On March 27, 2019 (the “Petition Date”), the Debtor commenced this case by

filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Petition”).

ECF Doc. No. 1. A copy of the case docket (the “Docket”) as of April 17, 2019 is attached to the

Declaration of Benjamin J. Higgins, dated April 17, 2019 and filed contemporaneously herewith

(the “Higgins Declaration”), as Exhibit A. A copy of the Petition and the documents filed

therewith is attached to the Higgins Declaration as Exhibit B.

       2.      The Petition indicates at Question 6 that the Debtor is a “Corporation (including

Limited Liability Company (LLC) and Limited Liability Partnership (LLP).” Petition at 1,

Higgins Decl., Ex. B. A copy of the Debtor’s entity information as listed on the New York State

Department of State website (the “Debtor Entity Information Sheet”) is attached to the Higgins

Declaration as Exhibit C.

       3.      The Petition is signed by Manuel B. Vidal, Jr, as the “Member” of the Debtor.

Petition at 4, Higgins Decl., Ex. B. Attached to the Petition is a Member Resolution signed by

Manuel B. Vidal, Jr. as the sole Member of the Debtor granting the Debtor authority to file a

bankruptcy petition. See Member Resolution, Higgins Decl., Ex. B.

       4.      The Debtor is a limited liability company formed under the laws of New York on

or around March 10, 2017. See Debtor Entity Information Sheet, Higgins Decl., Ex. C; Member

Resolution, Higgins Decl., Ex. B.

       5.      To date, the Debtor has not filed schedules, a summary of assets and liabilities, a

statement of financial affairs, a corporate ownership statement, or an affidavit pursuant to Local

Bankruptcy Rule 1007-2. Higgins Decl. at ¶ 5.


                                                       2
19-10904-mg      Doc 6    Filed 04/17/19     Entered 04/17/19 17:08:33          Main Document
                                             Pg 5 of 8


       6.      The Petition is not signed by an attorney. See Petition at 4, Higgins Decl., Ex. B.

To date, the Debtor has not filed an application to retain counsel and no attorney has appeared in

this case on behalf of the Debtor. Higgins Decl. at ¶ 6.

                                           DISCUSSION

       I.      Cause Exists for Dismissal or Conversion under 11 U.S.C. § 1112(b)

       Section 1112(b) of the Bankruptcy Code sets forth several bases for “cause” to convert a

chapter 11 case to chapter 7 or to dismiss a chapter 11 case. See 11 U.S.C. § 1112(b). The Court

shall convert or dismiss a case filed under chapter 11 for cause. See 11 U.S.C. § 1112(b)(4).

Under this provision, the Court may find cause in the following circumstances, among others:

       (F)     unexcused failure to satisfy timely any filing or reporting requirement
               established by this title or by any rule applicable to a case under this chapter;

11 U.S.C. § 1112(b)(4)(F).

       “Cause” to convert or dismiss, however, is not limited to the expressly enumerated

provisions of the statute. See In re BH S&B Holdings, LLC, 439 B.R. 342, 346 (Bankr. S.D.N.Y.

2010) (stating that the sixteen examples of events that may constitute cause in §1112(b)(4) are “‘not

exhaustive’ and courts are free to consider other factors”); In re AdBrite Corp., 290 B.R. 209, 216

(Bankr. S.D.N.Y. 2003) (“A finding of cause is not limited to the grounds stated in § 1112(b)”).

The bankruptcy court has wide discretion to determine if cause exists and how to ultimately

adjudicate the case. In re The 1031 Tax Group, LLC, 347 B.R. 78, 93 (Bankr. S.D.N.Y. 2007).

Once a party establishes cause, the burden is on the respondent to demonstrate that dismissal or

conversion is not in the best interest of the estate. In re Halal 4 U LLC, 2010 WL 3810860 * 2

(Bankr. S.D.N.Y. 2010).



                                                        3
19-10904-mg       Doc 6     Filed 04/17/19    Entered 04/17/19 17:08:33          Main Document
                                              Pg 6 of 8


         A.     Failure to Timely Satisfy Filing or Reporting Requirements

         Unless the Court orders otherwise, debtors are required to file schedules, a summary of

assets and liabilities, a statement of financial affairs, a corporate ownership statement, and an

affidavit setting forth certain required information. See 11 U.S.C. § 521(a); Fed. R. Bankr. P.

1007(a) and (b); S.D.N.Y. LBR 1007-2; S.D.N.Y. LBR 1007-3. A debtor’s failure to timely

satisfy these filing and reporting requirements established under the Bankruptcy Code and

applicable rules constitutes cause for dismissal or conversion. 11 U.S.C. § 1112(b)(4)(F).

         To date, the Debtor has not filed schedules, a summary of assets and liabilities, a statement

of financial affairs, a corporate ownership statement, or an affidavit pursuant Local Bankruptcy

Rule 1007-2. Higgins Decl. at ¶ 5. Accordingly, cause exists to dismiss or convert this case

under § 1112(b)(4)(F).

         B.     Failure to Retain Counsel by a Corporate Debtor

         It has long been settled law that only a natural person may represent itself pro se in the

courts of the United States; corporations and other artificial entities must retain counsel. See

Rowland v. California Men's Colony, 506 U.S. 194, 201-02 (1993) (stating that “[i]t has been the

better part of two centuries … that a corporation may appear in the federal courts only through

licensed counsel”); Jones v. Niagara Frontier Transp. Auth., 722 F.2d 20, 22 (2d Cir. 1983)

(stating that “a corporation, which is an artificial entity that can only act through agents, cannot

proceed pro se”); Lattanziao v. COMTA, 481 F.3d 137, 139 (2d Cir. 2007) (stating that “a limited

liability company also may appear in federal court only through a licensed attorney”); In re Valid

Value Properties, LLC, No. 16-13299-MG, 2017 WL 123751, at *4 (Bankr. S.D.N.Y. Jan. 5,

2017).


                                                         4
19-10904-mg       Doc 6    Filed 04/17/19     Entered 04/17/19 17:08:33          Main Document
                                              Pg 7 of 8


         Here, the Debtor is a limited liability company and it cannot appear in this Court without

counsel. To date, no counsel has appeared on behalf of the Debtor. Higgins Decl. at ¶ 6.

Unless an application to retain counsel is filed and approved, cause exists to dismiss or convert

this case due to the Debtor’s failure to retain counsel as required under applicable law.

        II.     Cause Exists for Dismissal or Conversion under 11 U.S.C. § 1112(e)

        Section 1112(e) provides:

        Except as provided in subsections (c) and (f), the court, on request of the United
        States trustee, may convert a case under this chapter to a case under chapter 7 of this
        title or may dismiss a case under this chapter, whichever is in the best interest of
        creditors and the estate if the debtor in a voluntary case fails to file, within fifteen
        days after the filing of the petition commencing such case or such additional time as
        the court may allow, the information required by paragraph (1) of section 521(a),
        including a list containing the names and addresses of the holders of the twenty
        largest unsecured claims (or of all unsecured claims if there are fewer than twenty
        unsecured claims), and the approximate dollar amounts of each of such claims.

11 U.S.C. § 1112(e). Section 521(a)(1) requires, inter alia, the Debtor to file a schedule of

assets and liabilities, a schedule of current income and current expenditures, and a statement

of financial affairs.

        To date, the Debtor has not filed a schedule of assets and liabilities, a schedule of

current income and current expenditures, or a statement of financial affairs.          Higgins

Declaration at ¶ 5. Accordingly, cause exists to dismiss or convert this case pursuant to 11

U.S.C. § 1112(e).

        III.    The United States Trustee Recommends Dismissal

        Once cause is established under § 1112(b), unless the Court appoints a chapter 11 trustee,

the case must be converted or dismissed unless the court specifically finds unusual circumstances

that establish that the requested conversion or dismissal is not in the best interests of creditors and


                                                         5
19-10904-mg       Doc 6    Filed 04/17/19     Entered 04/17/19 17:08:33           Main Document
                                              Pg 8 of 8


the estate. See 11 U.S.C. § 1112(b)(1) and (2). It is within the Court's discretion to convert or

dismiss a chapter 11 case, provided the best interests of the creditors and the estate are served. In

re BH S & B Holdings, LLC, 439 B.R. 342 at 351. Additionally, § 1112(e) permits conversion or

dismissal based on what it is in the best interest of creditors and the estate.

       Here, it is unclear whether the Debtor has any unencumbered assets for a trustee to

administer or any creditors that would benefit from such an effort. Accordingly, the United States

Trustee recommends dismissal.

                                           CONCLUSION

       WHEREFORE, the United States Trustee respectfully requests that the Court enter an

order dismissing this chapter 11 or, alternatively, converting this case to a case under chapter 7 of

the Bankruptcy Code, and granting such other and further relief as may be deemed just and proper.

Dated: New York, New York
       April 17, 2019
                                                       WILLIAM K. HARRINGTON
                                                       UNITED STATES TRUSTEE

                                               By:     /s/ Benjamin J. Higgins
                                                       Benjamin J. Higgins, Esq.
                                                       Trial Attorney
                                                       Office of the United States Trustee
                                                       201 Varick Street, Suite 1006
                                                       New York, New York 10014
                                                       Tel. (212) 510-0500
                                                       Fax (212) 668-2361




                                                         6
